 8:05-cr-00381-LSC-SMB           Doc # 20   Filed: 12/02/05   Page 1 of 1 - Page ID # 28




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )
                                            )           8:05CR381
                    Plaintiff,              )
                                            )
       vs.                                  )            ORDER
                                            )
ANGELA D. HARMS,                            )
                                            )
                    Defendant.              )



       A bond hearing is scheduled before the undersigned magistrate judge at 1:30 p.m.
on December 6, 2005, in Courtroom No. 7, Second Floor, Roman L. Hruska United States
Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
       This being a criminal case, defendant must be present unless otherwise ordered by
the court.
       DATED this 2nd day of December, 2005.
                                                 BY THE COURT:


                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
